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, 3:05CR1 1-002/RV - ANTOlNE DEVON WlLSON

UN|TED STATES DlSTRlCT COURT
NORTHERN DlSTRlCT 0F FLOR|DA
PENSACOLA DlVlSlON

UN|TED STATES OF AMER|CA
-vs- Case # 3:050R11-002lRV

ANTOlNE DEVON WlLSON
y USM # 06043-017

Defendant’s Attorney:

David Lee Sellers, Esquire (Retained)
919 North 12th Avenue

Pensaco|a, FL 32501

 

JUDGMENT lN A CR|M|NAL CASE

The defendant pled guilty to Count One of the indictment on February 23, 2005. Accordingly, lT
lS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

TlTLElSECT|ON NATURE OF DATE OFFENSE
NUMBER OFFENSE CONCLUDED COUNT

 

21 U.S.C. §§ 841(a)(1) Conspiracy to Distribute and to Possess February15, 2005 One
and (b)(1)(B)(ii) and With lntent to Distribute 500 Grams or l\/lore
846 of a l\/lixture of Substance Containing a

Detectable Amount of Cocaine

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guide|ines promulgated by the U.S. Sentencing
Commission.

Count(s) Two dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
b restitution, costs and special assessments imposed by this judgment are fully paid.

Date of imposition of Sentence:
l\/lay 10, 2005

GStiAYlB FH ;:@'5_ ' /tz_,»-’
ROGER VlN N_
sENloR TED sTATEs DlsTRlcTJuDGE

FlL_ED - lvlay /{ ,2005

 

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 36 months.

The Court recommends to the Bureau of Prisons:

Designation to the Federal Prison Camp Saufley Field, Pensaco|a, Florida, or a Federal
Prison Camp close to Pensaco|a, Florida.

The defendant did not personally possess a firearm in this case.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
l have executed this judgment as follows: _
Defendant delivered on to
at , with a certified copy of thisjudgment.
UN|TED STATES l\/lARSHAL
By:

 

De`puty U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term
of 4 years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.- '

STANDARD COND|T|ON'S OF SUPERV|S|ON

The defendant shall comply with the following standard conditions that have been
adopted by this court.

‘l. the defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. the defendant shall report to the probation officer and shall submit a truthful and complete written

report within the first five days of each month;

3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of the probation ocher; v

4. the defendant shall support his or her dependents and meet other family responsibilities;

5. the defendant shall work regularly ata lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6. the defendant shall notify the probation officer at least 10 days prior to any change in residence or
employment;

7. the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician;

8. the defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at anytime at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;

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11.

12.

13.

14.

the defendant shall notify the probation officer within 72 hours»of being arrested or questioned by a
law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. As deemed necessary by the Probation Officer, the defendant shall participate in a
program of drug treatment which may includetesting to determine if the defendant is using
drugs.

2. The defendant shall cooperate with the Probation Department and/or any state agency
responsible forthe establishment and enforcement of child support payments. Additionally,
he shall make all required child support payments.

3. Any unpaid fine balance shall become a condition of the defendants term of supervised
release, and the defendant shall make monthly installment payments of not less than
$25.00 per month, to commence three months after release from imprisonment

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Upon a finding of a violation of probation or supervised release, l'understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. l fully understand the conditions and have been
provided a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Wltness Date

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CR|M|NAL MONETARY PENALT|ES

All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ lnmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717.
Payments can be made in the form of cash if paid in person. ‘

The defendant shall pay the following total criminal monetary penalties in accordance with '
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

M!
Special
Monetal_'y Assessment Fine Restitution
$100.00 $1000.00 $0.00

SPEC|AL MONETARY ASSESSMENT
A special monetary assessment of $100.00 is imposed.
FlNE
A fine in the amount of $1000.00 is imposed.

REST|TUT|ON

No restitution imposed.

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SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties.

Breakdown of fine and other criminal penalties is as follows:
Fine: $1000.00 SMA: $100.00 Restitution: $0.00

The $100.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and fine made while the defendant is incarcerated shall be made through the Bureau
of Prisons’ lnmate Financial Responsibility Program. Any payments of the fine while the defendant
is incarcerated shall be voluntary, and are not required.

The defendant must notify the court of any material changes in the defendants economic
circumstances, in accordance with 18 U. S. C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

` Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. ln the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U. S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.

